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1    MICHAEL JACOBS and
     IN PRO PER
2    800 Calle Divina NE
     Albuquerque, NM 87113
3    Tel: (505) 321-3044

4

5

6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
7

8
     UNITED VAN LINES, LLC
                                                                    No. 2:20-cv-03741-ODW-PLA
9
                                      Plaintiff,
10                                                                    DEFENDANT NOTICE OF
                                                                      MOTION TO VACATE
11   v.
                                                                      PLAINTIFF’S DEFAULT
12                                                                    JUDGMENT AND REMOVE
     MICHAEL JACOBS and RUBY HANDLER
                                                                      MISJOINED PARTY
13   JACOBS

14                                  Defendants.
15

16            PLEASE TAKE NOTICE that on ________, at ______M., or as soon thereafter as the
17
     matter may be heard, in Courtroom 5D - Fifth Floor before the Honorable Judge Otis D.
18
     Wright II located at 350 W. First Street, Los Angeles, California 90012, pro per1 Defendant
19

20   Michael Jacobs (“Mr. Jacobs”) will move this Court for an order vacating the default
21
     judgment entered against him on July 23, 2020 on the grounds that said inequitable judgment
22
     was taken against him due to mistake, inadvertence, surprise, or excusable neglect as more
23

24   fully set forth herein the Memorandum of Points and Authorities, Mr. Jacobs’ Declaration

25   and Exhibits attached thereto.
26

27
     1
          The Supreme Court found that pro se pleadings should be held to “less stringent standards” than those drafted by
28        attorneys. Haines v. Kerner, 404 U.S. 520 (1971), Puckett v. Cox, 456 F. 2d 233 (1972) (6th Cir. USCA)


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1          This motion is made pursuant to Federal Rule of Civil Procedure 60(b)(1) (“Rule 60”)
2
     and shall be based upon this Notice, the attached Memorandum of Points and Authorities,
3
     Declaration and Exhibits attached thereto, the complete files and records of this action, and
4

5    such other and further oral and documentary evidence as may be presented at the hearing on
6    this motion.
7

8

9
     Dated: August 15, 2020

10

11
             _                                                    /s/ electronically signed
12                                                                Michael Jacobs
                                                                  pro per
13

14

15

16

17

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19

20

21

22

23

24

25

26

27

28


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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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8
     UNITED VAN LINES, LLC
9                                                     No. 2:20-cv-03741-ODW-PLA
                               Plaintiff,
10
                                                        MOTION TO VACATE
11   v.                                                 PLAINTIFF’S DEFAULT
                                                        JUDGMENT AND REMOVE
12   MICHAEL JACOBS and RUBY HANDLER                    MISJOINED PARTY
13   JACOBS

14                           Defendants.
15

16

17        COMES NOW Defendant Michael Jacobs (“Mr. Jacobs”) and hereby files his Motion to

18   Vacate United Van Lines, LLC (“Plaintiff”) Default Judgment and allow Removal of
19
     Misjoined Party on the following grounds:
20

21
                      MEMORANDUM OF POINTS AND AUTHORITIES

22                                  I. STATEMENT OF CASE
23
          1.   Plaintiff filed suit against Mr. Jacobs and Ruby Handler Jacobs (“Mrs. Jacobs”)
24

25
     (collectively “Defendants”) on April 23, 2020 seeking Declaratory Judgements in their

26   Complaint (“Declaratory Relief”) asking this Court for: (a) A declaration concerning the
27
     rights and liabilities of United and Defendants under the Bill of Lading Interpleader; (b) A
28


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1    declaration that the Global Settlement Agreement and Mutual Release (“Agreement”) (See
2
     Dkt. No. 1, Exhibit A) precludes Mr. Jacobs’s notice of intent to sue; (c) A declaration that
3
     Defendants’ threatened course of action is frivolous; and (d) A declaration that Defendants’
4

5    threatened action is barred by statute of limitations.
6         2.    Plaintiff filed suit as a result of Mr. Jacobs’ March 17, 2020 Letter of Intent
7
     (“Letter of Intent”) who solely sought negotiations with Plaintiff and partner Suddath
8

9
     Relocation Systems of California, Inc. (“Suddath”).

10        3.    Mr. Jacobs denies all Plaintiff’s claims and requests for declaratory relief.
11
          4.    Mr. Jacobs claims that Plaintiff’s Declaratory Relief is time-barred by the statutes
12
     of limitations.
13

14        5.    Mr. Jacobs claims that this Court does not have jurisdiction.
15        6.    At all times Mr. and Mrs. Jacobs were at their Albuquerque residence in the State
16
     of New Mexico.
17

18
                                     II. PROCEDURAL HISTORY

19        7.    Plaintiff filed their Declaratory Relief on April 23, 2020. Defendants were not
20
     aware of the lawsuit until June 20, 2020.
21
          8.    On June 26, 2020 Plaintiff filed Dkt. No. 9 claiming Defendants were properly
22

23   served their Declaratory Relief on Mrs. Jacobs followed by Dkt. No.10 on June 29, 2020
24
     claiming that they properly served their Declaratory Relief on Mr. Jacobs, both on June 16,
25
     2020.
26

27        9.    On June 30, 2020 Plaintiff was notified of Filer Deficiencies regarding the

28   legitimacy of said service. (Dkt. No. 11).

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 1          10. On July 21, 2020 Plaintiff filed Dkt. Nos. 12 and 14 as applications for default
 2
     against Mr. Jacobs and Mrs. Jacobs respectively.
 3
            11. On July 22, 2020 Plaintiff received Notice of Deficiency (Dkt. No. 16) to await a
 4

 5   ruling from this Court.
 6          12. Following a Minute Order determination that service was proper per United States
 7
     Postal Service mailing, the Court entered on July 23, 2020 the granting of Plaintiff’s entry of
 8

 9
     default. The Defendants did not receive the mailed Complaint until June 20, 2020.

10          13. On July 23, 2020 the Clerk of the Court entered the default of the Defendants in the
11
     Record Proper at Dkt. No. 18.
12
            14. The Court issued an Order to Show Cause as to why the case should not be
13

14   dismissed on July 23, 2020 providing Plaintiff until August 24, 2020 to respond. (Dkt. No.
15   19).
16
            15. Contrary to Plaintiff’s counsel Gregg Garfinkel’s (“Mr. Garfinkel”) Declaration
17

18
     (Dkt. No. 15) at ¶ 5, Mrs. Jacobs chose to “otherwise respond” to the Declaratory Relief on

19   June 22, 2020 by Registered Mail, with a Refusal For Cause Without Dishonor2, which was
20
     received by Mr. Garfinkel on June 30, 2020. (See Exhibit 1). Mr. Garfinkel made the
21
     declaration under penalty of perjury.
22

23          16. Following Mr. Jacobs’s receipt of Dkt. Nos. 12 and 13, he immediately informed
24
     Mr. Garfinkel on July 25, 2020 that he has been in a Chapter 11 Bankruptcy since November
25
     13, 2019. (See “Notice” Exhibit 2). Mr. Jacobs’ bankruptcy attorney also emailed the Notice
26

27   to Mr. Garfinkel on August 2, 2020.

28


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 1           17. The Defendants did not receive Dkt. Nos. 5 through 11 nor Dkt. Nos. 16 through
 2
     19.
 3
                                            III. STATEMENT OF FACTS
 4

 5           18. In Plaintiff’s June 4, 2012 Complaint for Interpleader styled as United Van Lines,
 6   LLC, et all v Brown, et al, United States District Court Case No. 2:13-cv-03983-FMO-MAN
 7
     (“United Complaint”), Mr. Jacobs was listed as a defendant (please take judicial notice).
 8

 9
     Neither Mr. Jacobs nor Mrs. Jacobs did engage, hire or contract with Plaintiff and as a result

10   Plaintiff wrongfully packed, loaded and transported his personal property. (See ¶ 25 below).
11
     Mrs. Jacobs was not involved in the original controversy as she signed all of her rights to the
12
     personal property over to Mr. Jacobs. (Exhibit 3). Mrs. Jacobs was not a party to the Letter of
13

14   Intent. Therefore Mr. Jacobs claims that Mrs. Jacobs is a misjoined defendant3 in this instant
15   action4.
16
             19. Following mediation with the Honorable Magistrate Judge Margaret Nagle (Ret.)
17

18
     (“Judge Nagle (Ret.)), the Agreement was signed by all parties in December 2014.

19   Unfortunately Judge Nagle (Ret.) did not fulfill her duties as required by the Agreement (See
20
     ¶ 9 of Agreement), nor did the Honorable U.S. District Court Judge Fernando Olguin (“Judge
21
     Olguin”) and nor did Plaintiff. There is not to be found a Judge Nagle (Ret.) determination
22

23   on the Record Proper.
24

25

26   2   UCC 3-501 and UCC 2-207(2)(c)
     3   Fed. R. Civ. P. 21 provides that misjoinder of parties is not ground for dismissal of an action, and that parties
27       may be dropped or added by court order on motion of any party or of the court's own initiative at any stage
         in the action and on such terms as are just.
28
     4
         Federal Rules of Civil Procedure 71.1(i)(2) Dismissing a Defendant. The court may at any time dismiss a
         defendant who was unnecessarily or improperly joined.

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 1        20. In Mr. Jacobs’ Letter of Intent, he alleges that the Plaintiff not only did not perform
 2
     per the terms of the Agreement, but they are responsible for the known and hidden loss of
 3
     valuable personal effects, information that was withheld from Mr. Jacobs during the
 4

 5   mediation of said Agreement.
 6        21. Mr. Jacobs is not time barred due to statute of limitations and relief that would be
 7
     potentially gained from Equitable Tolling and extraordinary circumstances.
 8

 9
          22. On March 17, 2020 Mr. Jacobs informed Plaintiff and partner Suddath that he

10   solely would seek legal recourse if they were not willing to negotiate a settlement for wrongs
11
     that Mr. Jacobs did believe were committed by Plaintiff. Mr. Garfinkel responded on April 2,
12
     2020 with a demand letter seeking written confirmation of Mr. Jacobs’s “abandonment of all
13

14   actions.” Furthermore, Mr. Garfinkel threatened a “vigorous defense of any actions (Mr.
15   Jacobs) might take.” (emphasis added).
16
          23. Mr. Jacobs alleges that this Court does not have Personal Jurisdiction over the
17

18
     Defendants nor Subject Matter Jurisdiction. The Federal Question jurisdiction purported by

19   Plaintiff is not relevant contrary to ¶ 6 of the Declaratory Relief wherein Plaintiff misleads
20
     the Court by stating “United entered the Bill of Lading with Defendants.” (See ¶ 25 below).
21
          24. First and foremost, Plaintiff never entered into a Bill of Lading with either
22

23   Defendant. As stated above, Plaintiff entered Defendants’ home and removed all of their
24
     possessions without their permission. Furthermore, Plaintiff failed to transport all goods
25
     belonging to Mr. Jacobs.
26

27        25. Please take judicial notice of the United Complaint wherein Plaintiff states at ¶ 11

28   that on May 7, 2013 “United entered into a contract of carriage with Defendant Jeremy Brown

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 1   [“Brown”], Uniform Household Goods Bill of Lading and Freight Bill designated as United
 2
     Order No. U-470-174-3, to transport certain household goods from [the Property] to 6608
 3
     Gluton (sic) Court, Albuquerque, New Mexico, 87101 (sic).” (See packing box as Exhibit 4).
 4

 5   Mr. Jacobs’ personal goods were going to be transported to an incorrect address.
 6        26. Mr. Jacobs who was at home in New Mexico, did not authorize Brown to pack or
 7
     ship his Los Angeles personal belongings. Furthermore, Mr. Jacobs was not aware of the
 8

 9
     Plaintiff’s unauthorized involvement and subsequent contract with Brown.

10        27. Plaintiff further states in the United Complaint at ¶ 13 that “Defendant Michael
11
     Jacobs notified Plaintiff of a series of disputes between the Defendants, including adverse
12
     claims of ownership…”
13

14        28. The Declaratory Relief is also not proper in that Fed. R. Civ. P, Rule 12(b)(7)
15   requires that it must be dismissed when the Plaintiff fails to join a party under Rule 19.
16
     Plaintiff failed to join United Complaint Co-Plaintiff Suddath. Moreover, both entities were
17

18
     noticed in the Letter of Intent.

19        29. Mr. Jacobs has yet to file a complaint against the Plaintiff.
20
                                        IV. LEGAL ARGUMENT
21
          A.    Standards for Determining Whether to set Aside a Default Judgment.
22

23        30. Mr. Jacobs denies all of the allegations of Plaintiff’s Declaratory Relief and

24   contends that he has a meritorious defense to said Declaratory Relief in that Plaintiff
25
     incorrectly invokes a Federal Question and has misled the Court in their writings.
26
     Furthermore, Mr. Jacobs alleges that this Court does neither have Personal nor Subject Matter
27

28   Jurisdiction.

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 1        31. Federal Rules of Civil Procedures 60(b) provides that “[o]n motion and upon such
 2
     terms as are just, the court may relieve a party … from a final judgment … [for] any reason
 3
     justifying relief from the operation of the judgment.” FRCP 60(b). The Third Circuit has held
 4

 5   that “Rule 60(b) should be given a liberal construction [and] [a]ny doubt should be resolved
 6   in favor of the petition to set aside the judgment so that cases may be decided on the merits.”
 7
     Feliciano v Reliant Tooling Co. 691 F.2d 653, 656 (3rd Cir. 1982)(internal quotations
 8

 9
     omitted). The decision to vacate a default judgment is left “primarily to the discretion of the

10   district court,” U.S. v $55,518.05 in US Currency, 728 F .2d 192 (3rd Cir. 1984); Lau Ah Yew
11
     v. Dulles, 236 F.3d 415 (9th Cir. 1956).
12
          32. In Eitel v. McCool, the Ninth Circuit identified several factors for the court to
13

14   consider in exercising its discretion to enter default judgment: (1) the potential prejudice to
15   plaintiff; (2) the merits of plaintiff’s substantive claim; (3) the sufficiency of the complaint;
16
     (4) the amount at stake in the action; (5) the possibility of dispute concerning material facts;
17

18
     (6) whether default was due to excusable neglect; and (7) the strong public policy underlying

19   the Federal Rules favoring a decision on the merits. Eitel v. McCool, 782 F.2d 1470, 1471-72
20
     (9th Cir. 1986).
21
          B.   First Eitel Factor – No Prejudice to Plaintiff
22

23        33. The Third Circuit has defined prejudice as a loss of evidence or witnesses, or
24
     similar prejudice from the delay in answering. Nationwide Mut. Ins. Co. v Starlight Ballroom
25
     Dance Club, Inc., 175 Fed. Appx. 522 (3rd Cir. 2006). The prejudice that Plaintiff may suffer
26

27   is only the financial cost related to pursuing a default judgment against the Defendants.

28


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  1   However, this cost is not sufficient to establish prejudice. Feliciano, 691 F.2d at 646.
  2
      Therefore, Plaintiff would not be prejudiced if denied this remedy against Defendants.
  3
           C.   Second Eitel Factor – Mr. Jacobs has a Meritorious Defense
  4

  5        34. The standard to establish a meritorious defense is more stringent than merely
  6   alleging a defense. Harad v. Aetna Cas. & Sur.. Co., 839 F.2d 982 (3rd Cir. 1988).
  7
      Specifically, a defendant must “set forth with some specificity the grounds for his defense.”
  8

  9
      Id. (emphasis added). The Court must “then look at the substance of the defense to determine

 10   whether it is meritorious.” Starlight Ballroom Dance Club, Inc., 175 Fed. Appx. at 522.
 11
           35. In discussing Rule 60 the Ninth Circuit Court of Appeal has stated that this rule,
 12
      like all the Federal Rules of Civil Procedure, “is to be liberally construed to effectuate the
 13

 14   general purpose of seeing that cases are tried on the merits.” Rodgers v. Watt, 722 F.2d 456,
 15   459 (9th Cir. 1983) (internal citations omitted.)
 16
           36. The Ninth Circuit ruled that “necessary facts not contained in the pleadings, and
 17

 18
      claims which are legally insufficient, are not established by default.” Cripps v. Life Ins. Co. of

 19   N. Am., 980 F.2d 1261, 1267 (9th Cir. 1992).
 20
           37. Mr. Jacobs asserts the following meritorious defenses:
 21
                a. Mr. Jacobs is currently in Chapter 11 Bankruptcy proceeding and he is
 22

 23   informed and therefore believes that his active participation in this case is stayed;
 24

 25

 26

 27

 28


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  1                 b. Defendants neither have any rights nor liabilities and under the Bill of Lading.
  2
      There is a lack of Privity5 as no contract or agreement ever existed between Plaintiff and
  3
      either Defendant;
  4

  5                 c. The failed Agreement is void due to fraudulent inducement by Plaintiff and
  6   Suddath;
  7
                    d. All parties to the Agreement have not been “deemed to release, exonerate and
  8

  9
      discharge each other” as full performance has not occurred. (See Agreement at ¶ 13 and ¶

 10   37(f) hereinbelow).
 11
                    e. Plaintiff incorrectly seeks a declaration that “Defendants’” threatened course of
 12
      action is frivolous as evidenced herein;
 13

 14                 f. Any legal action Mr. Jacobs may take will not be time barred by statute of
 15   limitations due to Equitable Tolling with extraordinary circumstance. Furthermore as Judge
 16
      Nagle (Ret.) did not correctly issue a final ruling, Judge Olguin’s dismissal is void due to
 17

 18
      failure to perfect the Agreement. (See Agreement at ¶ 12);

 19                 g. However, Plaintiff is time barred from bringing their Declaratory Relief by the
 20
      statute of limitations.
 21
                    h. Defendants aver that the Court does not have jurisdiction over this matter
 22

 23   pursuant to 28 U.S.C. § 1331 and 49 U.S.C. § 14706 as there is not a Federal Question;
 24
                    i. Defendants aver that the Court does not have jurisdiction over this matter
 25
      pursuant to 28 U.S.C. § 1337 wherein Plaintiff claims “the matter in controversy for each
 26

 27   receipt or bill of lading exceeds $10,000” does not exist and Defendants are not parties to the

 28
      5   The doctrine of Privity provides that a contract cannot confer rights or impose obligations arising under it on

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  1   bill of lading. Mr. Jacobs has not filed a lawsuit making any financial claim, and Plaintiff is
  2
      pursing a phantom legal action;
  3
                  j. As tortfeasors Plaintiff interfered with Mr. Jacobs’s protected interests causing
  4

  5   him damage (Mistake Doctrine);
  6               k. Plaintiffs attempted to extort Mr. Jacobs for fees he was not obligated to pay
  7
      and withheld Mr. Jacobs’ chattel through a false claim of right; and
  8

  9
                  l. Mr. Jacobs alleges Fraud upon the Court by Plaintiff in making false statements

 10   relating to material facts, wholly designed to mislead this Court.
 11
            D.    Third Eitel Factor - Sufficiency of the Complaint
 12
            38. The Declaratory Relief is not successful in all of its’ requests for declaratory relief
 13

 14   thereby failing to state a claim upon which relief can be granted. In making a pleading,
 15   Plaintiff is required to fully explain the claims and what they required of the court. When a
 16
      court determines the sufficiency of a complaint to state a cause of action, its review is limited
 17

 18
      to an examination only of the complaint and its attachments (“four-corners rule”).

 19         39. Defendants never entered into a bill of lading with Plaintiff (See ¶ 25 above).
 20
            40. Therefore, Plaintiff incorrectly claims this Court has jurisdiction (See ¶¶ 37(g)(h)(i)
 21
      above).
 22

 23         41. The Agreement did not address the merits of Mr. Jacobs’s previous Counter Claim.
 24
            42. The Agreement itself is not sufficient due to the failure of Plaintiff to perform and
 25
      errors by both Judge Nagle (Ret.) and Judge Olguin.
 26

 27         43. Plaintiff did not join Suddath as an indispensable party.

 28
      any person or agent except the parties to it.

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  1          44. In the Declaratory Relief, the statements regarding “Defendants” is misleading6 to
  2
      the Court as they do not refer to each defendant individually, thereby leaving the impression
  3
      that both Defendants took part in certain transactions, which they did not. (Rule 11 violation);
  4

  5          45. With regard to Plaintiff’s physical service, it was insufficient in that neither
  6   Defendant was properly served initially. Despite Notice to Filer of Deficiencies (Dkt. No. 11)
  7
      on June 30, 2020 and while pending with the Court, Plaintiff filed Default Motions against
  8

  9
      Defendants (Dkt. Nos. 12 and 14) on July 21, 2020. Defendants were not notified of these

 10   actions. The Court’s Minute Order on July 22, 2020 was a clarification on the validity of
 11
      service, the status of which previously had confused Defendants.
 12
             E.    Fourth Eitel Factor - Sum of Money at Stake
 13

 14          46. The Plaintiff makes no claim in the Declaratory Relief that they are actually owed
 15   any money. Plaintiff lightly claims that the amount in controversy exceeds the minimum
 16
      threshold of the Carmack Amendment (“Carmack”) without further explanation. Defendants
 17

 18
      have no liabilities or rights under the Carmack as explained hereinabove. For the purposes of

 19   this instant case, and at this time, there is no controversy about any money at all.
 20
             F.    Fifth Eitel Factor – Absolute Dispute of Material Facts
 21
             47. The material facts as stated by Plaintiff in their Declaratory Relief are in conflict as
 22

 23   Defendants dispute each and every request for relief. By first account, Plaintiff has joined a
 24
      wrong person. Mr. Jacobs wrote the Letter of Intent to Plaintiff and partner Suddath, which
 25
      did not involve Mrs. Jacobs. In the United Complaint Mrs. Jacobs lodged her Assignment of
 26

 27
      6    North Judge Tennille wrote in Allen v. Land Resource Group of North Carolina, LLC, 2010 NCBC 15.
 28       (unpublished) “Failure to properly plead separate causes of action and to identify specifically the party
          against whom a claim is asserted may be an indication of a Rule 11 violation.”

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  1   Interest in United Complaint Dkt. No. 120 on September 3, 2014 (See Exhibit 4) allowing
  2
      Mr. Jacobs to solely proceed with the prosecution of his Counter Claim against Plaintiff and
  3
      Suddath. At ¶ 11 of the Declaratory Relief Plaintiff misleads as to “agreed” to transport with
  4

  5   “certain controversies” developing as to ownership per ¶ 12. Throughout the Declaratory
  6   Relief and especially at ¶ 14 Plaintiff states that Mr. Jacobs was the defendant and not Mrs.
  7
      Jacobs therefore requiring her to be removed as a party.
  8

  9
           48. Plaintiff misleads the Court by stating at ¶ 22 that Judge Nagle (Ret.) made a

 10   determination as to the performance of Plaintiff.
 11
           49. Plaintiff’s claim that the Agreement has been perfected is fully challenged by
 12
      Defendants.
 13

 14        50. Defendants do not have any liabilities and/or rights under the Bill of Lading as
 15   neither contracted with Plaintiff. Therefore the Carmack Amendment is not applicable.
 16
           G.   Sixth Eitel Factor - The Default was not the Result of Culpable Conduct
 17

 18
           51. The sixth Eitel factor considers whether either Defendants’ default may have been

 19   the product of excusable neglect. PepsiCo, Inc. v. California Sec. Cans, 238 F. Supp. 2d at
 20
      1177; see also Eitel, 782 F.2d at 1471–72.
 21

 22        52. To establish culpability, “more than mere negligence [must] be demonstrated.”
 23   Hritz v. Woma Corp. 732 F.2d at 1180. In fact, the Third Circuit has established that a
 24
      defendant’s conduct must have been “taken willfully or in bad faith” to deny a motion to
 25

 26
      vacate default judgment. Chamberlain v. Giampapa, 210 F.3d 154, 164 (3d Cir. 2000)

 27   (quoting Gross v. Stereo Component Sys., Inc., 700 F.2d 124 (3d Cir. 1991))(internal
 28


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  1   quotations omitted). Mr. Jacobs stated hereinabove that neither him nor his spouse have
  2
      acted willfully or in bad faith.
  3

  4          53. Mr. Jacobs has been in a bankruptcy proceeding since November 2019. Advice

  5   from his bankruptcy attorney was to notice Plaintiff’s counsel of the bankruptcy which
  6
      would in fact stay these instant proceedings and not require Mr. Jacobs to answer the
  7
      Complaint. Due to illness of Mr. Jacobs’s attorney his notice was not provided to Mr.
  8

  9   Garfinkel until August 2, 2020. However, Mr. Jacobs earlier did email notice to Mr.
 10
      Garfinkel on July 25, 2020.
 11
             54. California courts have held that bankruptcy of one defendant in a multi-defendant
 12

 13   case does not stay the proceeding as to the other defendants.

 14          55. However, Courts have made exceptions where the debtor is an indispensable party
 15
      to the pending action. Mr. Jacobs is an indispensable party who must be included in the
 16

 17
      instant action in order for relief to be granted. Therefore Mr. Jacobs believes that the case

 18   may not proceed without his participation and that the Court may issue an injunction to stay
 19
      the entire action. United States v. Dos Cabezas Corp. (9th Cir. 1993) 995 F2d 1486, 1491,
 20
      fn. 3. Moreover, Mrs. Jacobs is a wrongly joined party7.
 21

 22          56. Contrary to Plaintiff’s counsel’s ¶ 5 claim in Dkt. No. 15, Mrs. Jacobs did respond
 23   to the Declaratory Relief (See ¶ 15 hereinabove). Furthermore, Plaintiff’s counsel incorrectly
 24
      stated that an answer was due on July 7, 2020 when in fact it was due on July 13, 2020 based
 25

 26
      upon the Court’s Minute Order (Dkt. No. 17).

 27
      7
 28       Courts should generally grant motions to amend absent any evidence of bad faith, undue delay, or undue
          prejudice to the non-movant. Quaratino v. Tiffany & Co., 71 F.3d 58, 66 (2d Cir. 1995).

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  1        57. With regard to notification to Defendants from the Court and Plaintiff, Defendants
  2
      were not provided with documents as required. (See ¶ 17 hereinabove). Moreover, in Dkt.
  3
      No. 12 an employee of Plaintiff’s law firm, Nydia Martinez, claimed that that she emailed
  4

  5   documents to Mr. Jacobs when in fact she did not. This also holds true for Dkt. No. 14
  6   wherein she falsely claimed she emailed documents to Mrs. Jacobs. There are no email
  7
      addresses listed on any Plaintiff service list. Mr. Garfinkel has a correct email for Mr. Jacobs
  8

  9
      and the last time they communicated was pre-Declaratory Relief. Mr. Garfinkel never has

 10   had an email for Mrs. Jacobs.
 11
           58. As shown herein Mr. Jacobs’ failure to file a timely answer to the Declaratory
 12
      Relief was due to mistake, inadvertence, surprise or excusable neglect.
 13

 14        H.   Seventh Eitel Factor – Policy Favoring a Decision on the Merits
 15        59. The final Eitel factor weighs against default judgment. "Cases should be decided
 16
      upon their merits whenever reasonably possible" as the court did in Eitel. Eitel, 782 F.2d at
 17

 18
      1472. And courts prefer to decide cases on their merits whenever possible, see, e.g., Sekerez

 19   v. Gehring, 419 N.E.2d 1004, 1008 (Ind. Ct. App. 1981).
 20
           60. Mr. Jacobs avers he has presented a meritorious defense hereinabove.
 21
                                           V. CONCLUSION
 22

 23        61. Defendants’ actions are neither willful, nor made in bad faith. Mr. Jacobs avers that
 24
      Plaintiff is still culpable for unlawfully collecting Mr. Jacobs and his family’s chattel without
 25
      permission or authority causing enormous and lasting damage. Moreover, Defendants were
 26

 27   not informed about documents filed while Mr. Jacobs was under the impression that he need

 28


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  1   not answer the Declaratory Relief due to his bankruptcy. Plaintiff did not notice Defendants
  2
      of default request as required.       The meritorious defenses Mr. Jacobs has provided
  3
      hereinabove clearly illustrate disputes that either call for dismissal of this instant case or for
  4

  5   adjudication on the merits.
  6          WHEREFORE, Mr. Jacobs respectfully prays this Honorable Court:
  7
             a. To vacate Plaintiff’s Default Judgment against Defendants;
  8

  9
             b. To allow Mr. Jacobs’ bankruptcy stay to remain in place and thereafter allow Mr.

 10             Jacobs to move forward to dismissal or trial on the merits;
 11
             c. Per FRCP Rule 21 and Rule 71.1(i)(2) discretion of the Court, to order the removal
 12
                of misjoined Mrs. Jacobs from this case.
 13

 14          d. Allow for legal fees and costs, including for Mr. Jacobs’ time and efforts, in
 15             pursuing Plaintiff’s frivolous case.
 16

 17

 18
      Dated: August 15, 2020                                          Respectfully Submitted

 19                                                                   /s/ electronically signed
                                                                      Michael Jacobs
 20
                                                                      pro per
 21

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                                       PROOF OF SERVICE

   I HEREBY CERTIFY my belief that a true and correct copy of Mr. Jacobs’ Motion to Vacate
   Plaintiff’s Default Judgment, Exhibits and Declaration will be transmitted via CM/ECF to Gregg
   Garfinkel, attorney for Plaintiff.

   Pursuant to Federal Rules of Civil Procedure 44(a)(1) and 44(c), the method of electronic
   certification described herein is deemed proof of an official court record maintained by the Clerk
   of Court. The Notice of Electronic Filing (“NEF”) contains the date of electronic distribution and
   identification of the United States District Court for the Central District of California as the
   receiver. An encrypted verification code appears in the electronic document stamp section of the
   NEF. The electronic document stamp shall be used for the purpose of confirming the authenticity
   of the transmission and associated document(s) with the Clerk of Court, as necessary. When a
   document has been electronically filed into CMIECF, the official record is the electronic recording
   of the document kept in the custody of the Clerk of Court. The NEF provides certification that the
   associated document(s) is a true and correct copy of the original filed with the court.

   Executed on August 15, 2020 at Albuquerque, New Mexico

                                                               /s/ electronically signed
                                                               Michael Jacobs
                                                               Pro per
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                                        SERVICE LIST

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